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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division


                                                     )
     GOLDEN BETHUNE-HILL, et al.,                    )
                                                     )
                    Plaintiffs,                      )
                                                     )
            v.                                       )
                                                     ) Civil Action No. 3:14-cv-852
     VIRGINIA STATE BOARD OF                         )
     ELECTIONS, et al.,                              )
                                                     )
                    Defendants,                      )
                                                     )
                                                     )

      INTERESTED PARTY VIRGINIA STATE CONFERENCE OF NAACP BRANCHES
               RESPONSE TO COURT’S NOVEMBER 15, 2018 ORDER

           Pursuant to this Court’s Order of November 15, 2018, ECF 298, requiring Interested Party

    Virginia State Conference of NAACP Branches (“the Virginia NAACP”) to submit a new block

    equivalency file for its proposed remedy plan that is formatted as a simple text file instead of an

    excel spreadsheet, the Virginia NAACP respectfully notifies the Court that it has, today, via

    overnight FedEx, sent a hard copy CD-ROM containing the Shapefiles and text file Block

    Equivalency files to the Court, the parties, and the Department of Legislative Services. That file

    is in a folder labeled “Files Requested by Court on November 15 2018.”

           In addition to amended file requested by the Court on November 15, 2018, the Virginia

    NAACP also submitted, on that same hard copy CD-ROM, an adjusted remedial plan for the

    Court’s consideration that uses the corrected census block data. As the Virginia NAACP stated in

    its Notice to Court on Friday, November 16, 2018, ECF 303, counsel for the Virginia NAACP


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    discovered an error relating to the data for two census blocks (Block 51710 0038.001000 and

    Block 51710 0009.02 1044) located in the Norfolk area in Districts 79 and 89. The Virginia

    NAACP was able to correct this technical Census Bureau error in the Virginia NAACP’s proposed

    remedial plan by making minor adjustments to only those two districts. These limited corrections

    are provided to the Court in a second folder on the same hard copy CD-ROM, labeled “NAACP

    Plan with Census Block Issue Corrected.”        Maps and statistical information about these two

    corrected districts are attached as Exhibits A, B, and C. Exhibit D contains a notice from the Census

    Bureau acknowledging the census block assignment error. 1

             The Virginia NAACP respectfully requests that the Court consider the Virginia NAACP’s

    amended districts in the Norfolk area, designed to address the corrections issued by the Census

    Bureau. In the alternative, should the Court not accept this amended plan, the Virginia NAACP

    respectfully requests that the Court and special master consider the rest of the proposed remedial

    plan timely submitted by the Virginia NAACP on November 2, 2018, ECF 286.

             Submitted this 19th day of November, 2018.

                                                   /s/ David O. Prince
                                                   David O. Prince (VA State Bar # 17044)
                                                   411 East Franklin Street
                                                   Richmond, VA 23219
                                                   Telephone: 804-873-2601
                                                   Email: princelaw@aol.com

                                                   Allison Riggs (admitted pro hac vice)
                                                   Jeff Loperfido (admitted pro hac vice)
                                                   SOUTHERN COALITION FOR SOCIAL JUSTICE
                                                   1415 W. Highway 54, Suite 101
                                                   Durham, N.C. 27707
                                                   Telephone: (919) 323-3380
                                                   Facsimile: (919) 323-3942
                                                   Email: allisonriggs@southerncoalition.org
                                                   Email: jeffloperfido@scsj.org


    1
        This notice is also available at https://www.census.gov/rdo/pdf/VA_errata.pdf.
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                                       Counsel for the Virginia NAACP




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 19th day of November, 2018, I have electronically filed the

    foregoing document with the Clerk of Court using the United States District Court, Eastern

    District of Virginia, Richmond Division, CM/ECF system, which will then send a notification of

    such filing (NEF) to all counsel of record, including Plaintiffs, Defendants, and Defendant-

    Intervenors.



                                                        /s/ David O. Prince
                                                        David. O. Prince, Esquire
                                                        VSB # 17044
                                                        411 East Franklin Street
                                                        Richmond, VA 23219
                                                        804-788-4861
                                                        princelaw@aol.com
